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                                                    Southern District of New York

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                                                    August 17, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 906
New York, New York 10007

   Re:        United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

The Government respectfully submits this letter in response to the Court’s February 22, 2021,
Order (Dkt. 399) (the “February Order”). In particular, this letter provides the Court’s requested
status report “detail[ing] the Government’s efforts to identify any other cases in which similar
abuse occurred and to inform the courts and defendants in those cases” and “discuss[ing] any
training initiatives or policy changes undertaken to prevent improper use of information loaded
into the BIDMAS system.” (Id. at 19).

After reviewing the February Order, this Office and the FBI determined that a formal audit was
the best mechanism for assessing “the FBI’s attention to the limits of the Fourth Amendment in its
use of the BIDMAS system.” (Id. at 18). Accordingly, and as described below, the FBI Inspection
Division’s External Audit and Compliance Section (the “FBI Audit Section”) designed and
executed such an audit, evaluating BIDMAS users’ Fourth Amendment compliance in cases from
this district (the “BIDMAS Audit”). The BIDMAS Audit determined that all BIDMAS users’
searches were within the scope of the search warrants. Although they did not identify any problems
with BIDMAS searches, the audit team also developed eight recommendations to improve the
BIDMAS evidence review process and safeguard against inappropriate searches. We outline their
recommendations below, along with additional steps this Office and the FBI have taken in response
to the Court’s concerns, including expanded training and the development of tools to facilitate
appropriate review of electronic materials.

I. Background

As part of pre-trial suppression litigation in this case, the assigned AUSAs believed and
represented to the Court that email search warrant returns had only been reviewed by Manhattan
District Attorney’s Office (“DANY”) personnel on DANY’s review platforms as part of DANY’s
investigation of state offenses. See Dkt. 399, at 16-18; see also United States v. Nejad, 436 F.
Supp.3d 707, 716 (S.D.N.Y. 2020). Based on those representations, the Court denied much of the
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motion to suppress and allowed the Government to rely on materials seized during DANY’s
search. See Nejad, 436 F. Supp.3d at 736-38.

But in July 2020, the Government reported to the Court that it had identified an FBI report and
related email traffic with DANY, which showed that DANY had undertaken searches of DANY’s
email database at the FBI’s request during a period when FBI reports stated that the FBI was
investigating federal crimes. Dkt. 354 at 5-6; see also Dkt. 341, Ex. E at 3 (a copy of a June 2016
FBI report, which states that FBI New York was investigating “violations of IEEPA (Iran
Sanctions), Money Laundering, Bank Fraud, Wire Fraud and other violations to be determined”).
As the Government recognized in that filing, these materials should have been identified and
produced to defense counsel in advance of suppression litigation and such timely disclosure may
well have resulted in the Court granting the defense’s suppression motion. See id. at 7; see also
United States v. Nejad, 487 F. Supp.3d 206, 210-11 (S.D.N.Y. 2020). Then, on October 30, 2020,
the Government advised the Court that the FBI had also uploaded raw search warrant returns in
this case to BIDMAS and that FBI personnel had conducted their own review of those returns on
that platform before this Office became involved in the case. See Dkt. 392, at 2-4. We noted that
we did not yet have a complete factual picture, but that “[s]ome of the searches appear to have
related to investigations other than that of Sadr” and that what we had seen to that point “suffice[d]
to raise substantial concern.” Id. at 3.

In its February Order, the Court described the foregoing, and expressed its concern “that queries
of information in the BIDMAS system may represent a blind spot in the Government’s attention
to its Fourth Amendment and Brady obligations.” (Dkt. 399 at 19). Accordingly, it directed the
Government to submit this status report, addressing the Government’s efforts to ascertain whether
similar issues occurred in other cases, and describe training and policy changes undertaken to
ensure information loaded into BIDMAS is used properly. (Id.).

   I.      The Government’s Assessment of the FBI’s Use of BIDMAS

   A. BIDMAS

BIDMAS—an acronym for the “the Bureau Investigative Document Management and Analysis
System”—is the FBI’s proprietary data-review platform, analogous to commercially available
interfaces such as Relativity. Technical management and support of the platform is handled by a
group within the FBI’s Criminal Investigative Division’s Economic Crimes Unit (the “BIDMAS
Team”). To have a BIDMAS Team member upload data to BIDMAS, an FBI case agent must
complete and submit a data submission form that briefly describes the data and identifies, among
other things, whether it includes any potentially privileged information that requires filtering.

After the BIDMAS Team has uploaded data to BIDMAS, access to that material is restricted to
those BIDMAS Team members involved in the uploading process and members of the case team,
as identified by the case agent (potentially privileged materials may be separately restricted to
members of so-called “filter” or “taint” teams). BIDMAS automatically creates a review trail
recording, among other things, what user accessed the data, when it was accessed, and what search
terms were used.
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      B. The BIDMAS Audit

Following discussions of the February Order with the FBI New York Field Office and the FBI’s
Inspection Division (“INSD”), this Office and the FBI determined that a formal audit would be the
most effective means of assessing whether FBI personnel conducted searches beyond the Fourth
Amendment’s scope in other prosecutions. The FBI assigned this task to the FBI Audit Section,
which regularly audits internal FBI programs. During April and May 2021, the FBI Audit Section
personnel assigned to this matter (the “BIDMAS Audit Team”) developed an audit plan. When
doing so, BIDMAS Audit Team leaders consulted closely with this Office and the FBI’s New York
Field Office to ensure that the BIDMAS Audit was calibrated to address the February Order’s
concerns. However, neither this Office’s nor FBI New York’s personnel were part of the BIDMAS
Audit Team, and it was understood that the BIDMAS Audit Team leaders were to resolve all
questions as to the audit’s scope and conduct.

After considering the number of cases active and accessible in BIDMAS and weighting their
selection toward this Office’s cases (as most likely to reflect any “similar abuse” to that identified
in the February Order), the BIDMAS Audit Team leaders selected a review period of 2017 through
2019, 1 during which timeframe 18 FBI investigations in this district that resulted in prosecution
had at least one BIDMAS upload. 2 Those cases involved a total of approximately 139 search
warrants, of which 36 had warrant data uploaded to BIDMAS. The BIDMAS Audit focused on
FBI personnel’s review of these materials. In particular, with respect to FBI personnel’s review of
those 36 warrant returns, the BIDMAS Audit Team leaders determined that the BIDMAS Audit
would focus on identifying any improper or out-of-scope searches on BIDMAS and highlighting
potential policy changes to help prevent improper use of materials uploaded to BIDMAS.

Before beginning the audit, the BIDMAS Audit Team leaders also reviewed BIDMAS records for
prosecutions in this district between 2015 and 2019 (other than Sadr)—a total of 34 cases—to see
whether other state search warrant returns had been uploaded to BIDMAS. They determined that
no state search warrants were uploaded to BIDMAS in these cases.

The BIDMAS Audit Team conducted the BIDMAS Audit during the last two weeks of July 2021.
During that period, five previously selected “Assistant Inspectors in Place” (all of whom are
supervisory-level FBI special agents) traveled from various field offices to FBI headquarters in
Washington to conduct the BIDMAS Audit. The complete BIDMAS Audit Team also included an
FBI section chief and unit chief; a data scientist; four management and program analysts assigned
to INSD; an assistant inspector; an attorney assigned to the FBI’s Office of the General Counsel;
a subject matter expert from the FBI’s Office of Integrity and Compliance; and BIDMAS Team
members from the Criminal Investigative Division. When conducting the BIDMAS Audit, the
BIDMAS Audit Team had access to, among other things, the underlying search warrants for each
of the 36 warrant returns; each case’s BIDMAS review trail; data in the FBI’s electronic case file

1
    No prosecutions from this district had search warrant material uploaded to BIDMAS during 2020.
2
 The BIDMAS Audit Team later determined that one of the 18 prosecutions had only uploaded
consent search materials to BIDMAS, and that another had withdrawn its BIDMAS submission
after determining that it included only images rather than email.
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system for each case; the respective cases’ case agents; and other FBI personnel who conducted
BIDMAS searches. As part of the BIDMAS Audit, the BIDMAS Audit Team conducted 23
interviews of FBI personnel who conducted queries within BIDMAS to probe how given searches
fit within the scope of the warrant.

At the conclusion of the review, the BIDMAS Audit Team assessed that all BIDMAS searches
were within the scope of the search warrants.

      C. Conclusions Regarding the FBI’s Use of BIDMAS

The BIDMAS Audit’s analysis supports the conclusion that BIDMAS is not a vehicle for misuse
of search warrant materials. Instead, comprehensive review of searches across a large sample of
cases suggested that those queries were limited by the parameters of the relevant search warrants.
Although we discuss the BIDMAS Audit Team’s recommendations for BIDMAS improvements
below, BIDMAS’s combination of strict access controls and a robust review trail has also guarded
against the sort of abuses the February Order contemplated.

To be sure, the use of BIDMAS in this case prompted serious concern for this Office as for the
Court. (See Dkt. 392, at 2-4). However, in light of the BIDMAS Audit’s findings, it appears that
the FBI’s use of BIDMAS here was anomalous in at least two key respects. As noted above, based
on the BIDMAS Audit Team’s review, other than Sadr, no state search warrants were uploaded to
BIDMAS in SDNY prosecutions between 2015 and 2019. Moreover, because in Sadr the
applicable warrants were obtained, the data was uploaded, and the FBI’s queries were conducted
before this Office became involved in this case, there was also no federal prosecutorial engagement
with or supervision of any aspect of the BIDMAS review.

In short, following a formal audit of the FBI’s use of BIDMAS in this district’s cases, we have not
identified abuse of the BIDMAS database that might call for disclosure in other cases.

II. The BIDMAS Audit Team’s Recommendations and Our Additional Steps

      A. The BIDMAS Audit Team’s Recommendations

Although the BIDMAS Audit did not identify any out-of-scope searches, the BIDMAS Audit
Team developed eight recommendations to further safeguard against potential Fourth Amendment
violations. These recommendations include:

       •   requiring that any FBI agent submitting data for upload to the BIDMAS Team provide a
           copy of the warrant or other legal process through which the FBI obtained the data as part
           of the data submission form;

       •   isolating and differentiating within BIDMAS each upload and its corresponding legal
           authority; 3

3
 The BIDMAS Audit Team observed that all of a particular case’s uploaded data was aggregated
within BIDMAS, rather than being segregated by warrant. For purposes of the BIDMAS Audit,
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    •   mandating documentation in the BIDMAS data submission form of any time restriction
        within which searches need to be completed;

    •   including a timing mechanism within BIDMAS to restrict access to uploaded material
        after any applicable time limit has been exceeded;

    •   expanding the BIDMAS review trail to indicate whether a document identified by a search
        was in fact opened by the searcher;

    •   ensuring that all BIDMAS data submissions are documented and included within the FBI’s
        electronic case file;

    •   requiring agents to document completed BIDMAS searches—including, among other
        things, the timeframe of the search, the number of items submitted, the search terms used,
        the number of items searched, and the number of items determined relevant—in the FBI’s
        electronic case file; and

    •   increasing BIDMAS technical personnel to address these recommendations.

Consistent with FBI audit protocols, the FBI Audit Section will shortly disseminate its report and
these recommendations to all relevant FBI stakeholders, including the FBI’s Criminal
Investigative Division, which manages the BIDMAS Team. The FBI Audit Section will request
that the BIDMAS Team implement the recommendations in the next 60 days. The FBI Audit
Section will thereafter remain in dialogue with the BIDMAS Team until the FBI Audit Section
determines that the recommendations have been satisfactorily implemented.

   B. Additional Steps

In addition to the BIDMAS Audit Team’s recommendations (and indeed prior to completion of
the BIDMAS Audit), FBI counsel separately made clear to FBI New York personnel that they
must contemporaneously document in the case file that anyone for whom they request BIDMAS
access has reviewed and is familiar with the search warrants underlying the seizure of uploaded
search material.

Further, as the February Order noted, the Government has been working to implement
improvements that address the issues that developed in this and other cases. (See Dkt. 399, at 18-
19; see also Dkt. 396 (reporting on initial steps we had taken)). Those efforts have continued and
have included additional steps to help ensure that electronic searches are conducted with
appropriate attention to Fourth Amendment and Brady obligations.




the BIDMAS Audit Team correlated the timing and substance of warrants with the timing and
substance of queries to assess searches’ conformity to the applicable warrants’ scope.
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Among other things, over the past ten months, this Office has conducted training for eleven federal
agencies and a total of approximately 2,500 law enforcement personnel (including the FBI training
referenced in our December 2020 letter). This training has emphasized the importance of
conforming all searches to applicable legal requirements—including ensuring that they are
conducted on a timely basis and limited to the scope authorized by warrants—as well as the need
for clear communication between agents and prosecutors with respect to those requirements. It has
similarly underscored the importance of coordination around discovery and disclosure, beginning
from the outset of an investigation and continuing until a case has concluded.

This Office’s Disclosure Committee 4 has also worked with law enforcement partners, including
the FBI, to develop resources to help familiarize AUSAs with each agency’s reporting and data
management systems, to mitigate the risk of failed or garbled communication around the use of
review platforms like BIDMAS. Our expanded requirement of agency file reviews has been
similarly helpful in this regard. Finally, we have recently developed and disseminated to all
AUSAs updated internal guidance on electronic searches, to help ensure consistent, appropriate
attention to the diverse legal and practical issues such searches present, including with respect to
warrants’ limitations. We expect to reinforce this written guidance in our next round of Office-
wide training this fall.

III. Conclusion

The BIDMAS Audit Team’s thorough audit concluded that BIDMAS users have complied with
their Fourth Amendment obligations. However, we and the FBI have used the lessons of this case
to refine and improve our approach to electronic searches and discovery and disclosure practices.
We make no complacent assumption that this will eliminate all mistakes and errors of judgment,
and we will remain vigilant to ensure that such issues are timely identified and disclosed. But we
do have confidence that our ongoing efforts in this area ensure that our enduring commitment to
the highest ethical and professional standards translates into all aspects of our casework.

                                              Respectfully submitted,

                                              AUDREY STRAUSS
                                              United States Attorney


                                          by: _____________________________
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                                              Associate United States Attorney
                                              (212) 637-2571




4
 Since creation of this Office’s standing Disclosure Committee last year, see Dkt. 396 at 3, FBI
New York has also created a disclosure committee with which we meet regularly.
